Case 2:16-cr-00153-.]AD-CWH Document 42 Filed 08/15/16 Page 1 of 1

§ AO 245A (Rev. 7/87) Judg_ment of Acquittal

UNITED STATES DISTRICT COURT

 

 

DISTRICT OF NEVADA
UNITED STATES OF AMERlCA
JUDGMENT OF ACQUITTAL
V.
JAMES LESCINSKY

CASE NUMBER: 2216-CR-153-JAD-CWH

The Defendant Was found not guilty. IT IS ORDERED that the Defendant is acquitted, discharged,
and any bond exonerated.

 

Signature OWff'lcer

JENNIFER A. DORSEY, U.S. DIS I`RICT JUDGE
Name and Title of Judicial Oft`lcer

August 12, 2016
Date

